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THE HONORABLE JUDGE ROBERT J. BRYAN

 

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OCT 15 2019

CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

BY DEPUTY

 

 

 

 

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

 

 

 

AT TACOMA
Case No. 3:19-CV-05493-RJB
CEHAKANAK SARAY, an individual,
Plaintiff, PLAINTIFF RESPONSE FOR ORDER TO
SHOW CAUSE
Vv.
INJUNCTION REQUEST
AMERICAN FAMILY MUTUAL
INSURANCE GROUP S., aforeign | AMENDED COMPLAINT
corporation, and the agents, officers & FOR BREACH OF CONTRACT &
employees comprised thereof, PERSONAL INJURIES
Defendant.
TO: The Clerk of the Court; and
TO: All counsel of record
INTRODUCTION AND RELIEF

Plaintiff, proceeding pro se, Cehakanak Saray (“Saray”) response to Show Cause and

orders.

Plaintiff respectfully request the court allow Plaintiff to Amend this complaint as matter

of course under Fed. R. Civ. Pro. 15.

Plaintiff respectfully request the court for a scheduling and status conference.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 1

 
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Also would like to have an oral hearing on a request to dismiss without prejudice under a
disability so that Plaintiff can seek proper mental health care and counseling for his current
behavioral status resulting from this entire experience with American Family.

RESPONSE FOR ORDER TO SHOW CAUSE

Prior to filing this action on June 3, 2019, on 5/20/2019 Plaintiff sought pro bono legal
advice on his complaint through the Tacoma Pro Bono Community of Lawyers.

In preparation and consideration of this case Plaintiff received advice from the legal aid
clinic on May 20, 2019 on claims that involved American Family action and conduct.

Recommendations included but not limited to, that his four separate complaint be entered
as one, as complaint would be then too excessive which may amount to over hundreds of pages
and Plaintiff only kept the trademark related claims to be the most significant and reasons for
Defendant to settle this case.

Also Pro bono advice was to file within the three-year statute of limitation for certain
specific claims that was also related to this case, which would refer to the date of collision on
June 20, 2016.

Plaintiff's experience and family fell victimize to a fraudulent practice by white-collar
crime to what he now believes is American Family abuse and the use of the legal services as in
whole or part in their claims handling process.

His ethnic, background history, and possible lack of education with the family
circumstances were also to believe as reason to be targeted by discrimination. The vulnerability
of a consumer placing too much trust in business’s that are insurance-related, like the lawyers

retained show either negligence in their claims handling, or co-conspired with the Defendant as

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 2

 
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to the repetitive incompetency or inadequacy of legal professionals and their business ethics or
code.

Plaintiff have been suffering through traumatized events directly caused by American
Family and will continues to develop symptoms and episodes of depression from the damages of
the breach of his trust and loyalty since he can remember those television ads broadcasted on
Seahawks game and endorsements.

This case was filed in court to share my personal experience with the public interest at
mind. I feel as if American Family truthfulness in advertising if far from truthful and would like
a Jury to decide on that matter if they are also likely to be confused by way of the Defendant use
of advertising material and related trademarks slogan.

After careful consideration of legal advice and to not give up on allowing Defendant with
their advertisement of false hopes and promises, among many other things, this case was then
filed on 6/3/2019.

However, Plaintiff was not prepared to handle this case immediately and believed that he
would be assigned to a court-appointed counsel, which then would decrease the amount of stress
and confusion that Plaintiff already has endured. That request was denied and Plaintiff had very
limitation on resources remaining in which then he turned to education.

This claim was unreasonably handled and then denied unknowingly that was based on a
misrepresentation of material fact.

The claims-experienced professional in this case and the insurance related claims
handling has allowed an invalid and outdated rejection form to be introduced and deny the claim.
The applicable to the previous vehicle under the same auto policy number is one of various way

in attempts to deny benefits and coverage deployed by the Defendant.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 3

 
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Therefore, Plaintiff respectfully request to reconsider for a court-appointed counsel for
the personal injury caused to him by Defendant and possible consider a Certified Class Action
under Fed. R. Civ. Pro. 23 and/or to excuse Plaintiff with motion to dismiss without prejudice in
effort to reduce the excessive mental stress and anxiety placed upon Saray as his inability to
focus on academic and his family has been tarnished by his former insurance company’s action,
which they continue to send personal advertisement of creating a unique policy in the form of
insurance and refer to them as to a dream and affecting my behavior each day, to this day and
into the uncertain and indefinite future.

As a result of American Family and through their Defendant’s counsel action, Saray and
his family have and will continue to suffered substantial economic and non-economic injuries
including the mental health and wellness of the children’s father as person, as a provider, and as
a dreamer.

Order to Show Cause
Communication efforts

Plaintiff many attempts to satisfy the court Orders set by Honorable Judge in this matter
included my personal voice messages, which were left to Christopher Roslaniec “Roslaniec” on
August 12, 2019. This is where more than 40 days pass since the summons and complaint was
issued, however no answer was submitted.

Additional calls were made to reach Defendant’s counsel and was finally returned after
the 4"" or 5" attempt. Roslaniec and his first response was via email to Plaintiff on August 22,
2019. Roslaniec then acknowledges that I have been attempting to reach them. Through email,
Roslaniec then responded to a request for Saray’s time availability to set a conference which

Saray then responded on August 23, 2019 using that same mode of communication.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 4

 
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There has been no response thereafter by Defendant’s counsel, Roslaniec. After
numerous attempts of phone calls made by Plaintiff to reach counsel again were unsuccessful.
Plaintiff's efforts to communicate with Christopher Roslaniec also included travelling and then
spending hours awaiting at their firm’s office and around the nearby area in Seattle, WA on
9/9/2019.

A drafted proposal for an early settlement and other related material were supplied to
Defendant’s counsel. Dkt. 24 was provided to legal assistant Sonia Chakalo “Chakalo.” In good
faith effort to discuss some kind of an early settlement proposal between both parties. In duress
and frustration, Plaintiff left the unsigned settlement draft proposal that was left to Chakalo care
on 9/9/2019.

Plaintiff received very minimal response and defendant has declined to this settlement
proposal. The 26(f) conference as stated by Defendant counsel’s report never happened and
Plaintiff would advise that the court having order to have a pro se, set this communication is to
far excessive to handle on his own resources and accord.

Defendant’s counsel and communication were mainly through email. Plaintiff has
informed the Clerk and numerous court personnel about this issue regarding the lack of
defendant counsel effort and how to properly meet and confer with this order.

Numerous calls were made to the court to understand how and to what exactly is the
court is looking for under their rules of civil procedure. Plaintiff has gone so far that he has taken
upon himself to take civil law and paralegal courses at Tacoma Community College in attempt to
understand the courts rules and civil procedures. However, this has now caused more time

constraint on him, his family and his daily life schedule and his mental state of mind and health.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 5

 
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It was also previously agreed in the first initial response that Defendant counsel
Roslaniec would not mind drafting the Joint Status Report “JSR” in that respect due on 9/23/19.

After reviewing a copy of the JSR provided to Plaintiff by defendant counsel through
email, Saray disagree with counsel’s draft of the JSR that was provided and attached for Plaintiff
to sign. Counsel sent a draft that did not edit the suggestion Saray had requested to include in the
Joint Status Report. Attached pages of email transcript (10 pgs.) in support to show cause.

This email transcript included a list of possible witness, including discovery methods
such as a request for admission, among other things. The edits and suggestion that were
delivered to counsels via email on 9/23/2019 did not include Plaintiff's request in our Joint
Status Report.

Plaintiff have been experiencing additional inconvenience and damages since dealing
with any insurance related business and American Family. Their action has continued to fail to
perform and American Family continues to claim to restore and to protect dreams. This
advertising claim by Defendant is clearly false.

Plaintiff has continued to experience behavioral health issue that he continuingly has to
keep monitoring and evaluating his condition. Saray currently and now seeks therapy and
counseling visits weekly. Plaintiffs inability to move on with his life is caused by the untruthful
advertising claim by American Family and their methods of using the legal justice system to take
advantage of victims in unconscionable. Plaintiffs is here in court in attempt to search for truth,
justice and relief.

Plaintiff confusion and episode of post trauma stress disorder (PTSD) are the injuries

from his experience of being a member and policyholder of American Family.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 6

 
 

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The court lacks to recognize that the conspiracies have caused Plaintiff severe confusion
and inconvenience upon him within this claim in a civil action. Plaintiff episodes of PTSD are
now likely to be permanent and will likely cause Plaintiff further damages into the uncertain and
indefinite future.

If case is dismissed and closed, this would then cause Plaintiff permanent harm and
injury towards his future, his person and his legal interest and his own rights. This will tarnish
and diminish the value and principle of life and his imagination to dream and that the justice
system is officially corrupted. Damaging his personal intellectual mind and property, including
his family’s dreams, his mental wellness, his family’s present condition and his ability to make
amends with his life’s hopes, purpose, dreams and passion. Again, this is the same Dream that
American Family advertises loosely and claims under their warranty.

Plaintiff's daughter is a three-year-old and was super-girl for a family Halloween outing
early this year and still in training diapers. She is the most adorable little thing and my life’s
enjoyment. Plaintiff also has a six-year-old son, which is now in kindergarten and is attending
school full-time Monday through Friday. Due to scheduling conflict on class time and schedule
he is unable to spend the morning, preparing lunch and taking him to school anymore. They also
have an older sibling at Mt. Tahoma High School.

Plaintiff's courses for academic career and legal studies at TCC also has begun for Fall
Quarter 2019 on September 23, 2019 which follows the same time as the JSR deadline was to be
filed.

To the course of events that has taken place has cause the loss of consortium towards the

entire family, and now has severe effects on his ability to fully care for his children properly.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 7

 
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Since after denied for Court-Appointed Counsel, Plaintiff doesn’t completely understand
why his claim was insufficient and lacking merit.

Specific information can only be provided by the Court Clerk on advice of case matters
which have forced Plaintiff to seek pro bono legal aid.

These appointments are usually schedule after hours on a specific time-basis, per
monthly, to which Plaintiff then must prepare excessive time thereafter to meet the Court
deadlines that are already in place.

With the involvement of other life’s duties and responsibilities, Plaintiff asks to
determine whether this case should be noted for a later time unti Plaintiff's health condition is
stabilized before court decides on the motion to dismiss, due to the hardship placed upon
Plaintiff's current position.

On October 7, 2019 local attorney practicing for over twenty years advise Plaintiff the
following legal advice and respectfully request the court to allow any of the following
recommendations: See attached.

(1) to see if he can non-suit, then refile.

(2) If not, Amend Complaint (as a matter of course under Fed. R. Civ. Pro. 15) which is
incorporated herein this pleading.

Plaintiff order for a Joint Status Report at this time is too far an excessive order and limits
the ability of his other duties and daily activities as the Defendant were not acting in good faith.

Plaintiff believe that the continue of motion are frivolous made by the Defendant’s
counsel and prepared timely to cause more stressed towards the Plaintiff financial condition and

affects his mental state of mind.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 8

 
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Plaintiff again is informing the court that he continues to suffer from serious medical
condition and if the court still finds that Plaintiffs claims are still without just, will allow the
Defendant to make the world of words, language, and terms false towards the Plaintiff, with no
true definition, meaning or purpose in his state of mind.

Injunction Request
In addition to the damages American Family has caused, they also implied a false
warranty and promise of protection. By their actions and conduct, they clearly failed their claim
to restore and protected those in the event the unexpected occurs.

Plaintiff requests for injunction order to refrain American Family from sending their
advertisement to Plaintiff and at his home address; and to refrain Defendant from making
promises on dreams and then to restoring it and protecting it.

I. PARTIES & JURISDICTION
1.1. At all times relevant to this complaint, Saray was a resident of Pierce County,
Washington. Saray was insured under motor vehicle insurance policy number 2354-1271-02-51-
FPPA-WA, including uninsured/underinsured motorist (“UIM”) coverage, issued by Defendant
American Family Mutual Insurance Company (“American Family”).
1.2 At all times relevant to this complaint, American Family was and is a foreign insurer as
defined by RCW 48.05.010, incorporated under the laws of the state of Wisconsin, with its
principal place of business in Wisconsin.
1.3. The amount in controversy exceeds $75,000.00, exclusive of interest and costs.
1.4 The Court has jurisdiction pursuant to 28 U.S.C. Section 1332(a)(1).

Il. STATEMENT OF FACTS

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 9

 
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2.1 On June 20, 2016, while proceeding north on Portland Ave in Tacoma, Washington,
Saray’s vehicle was hit by a vehicle driven by Antonio Solis-Sanchez. Mr. Solis-Sanchez was
charged for Hit & Run, Attended.

2.2 Mr. Solis-Sanchez insurance company accepted liability and paid the policy limits
available on his insurance policy, but not after an extensive delay for distribution had occurred.
2.3. In November 2017 Saray’s third attorney of record in this claims handling was then able
to receive the distribution of funds for partial of the medical liens in placed.

2.4 Saray’s vehicle was totaled as a result of the collision and he suffered severe bodily
injuries. The amount of insurance available was not sufficient to fully compensate Saray for the
injuries he suffered in the accident or yet made whole.

2.5. Saray’s bodily injuries required significant medical treatment which he incurred on
multiple occasions.

2.6 Following an application for Apple Health through Washington State was then the
injuries treated properly for Saray’s medical care for the injuries that were directly caused from
the motor vehicle collision on June 20, 2016.

2.7. Saray now suffers from an ongoing medical care and mental disability and continues to
seek counseling for his behavioral health issue as result of American Family deceitful claims
handling practice, use of misleading information and misrepresenting Saray’s policy contract.
2.8 Saray notified American Family about the collision which Saray had UIM/UM bodily
injury coverage and relied on this coverage for his bodily injuries related medical cost and
expenses.

2.9 Saray also suffered from significant pain and suffering, as a result of the collision. Saray

has unable to fully care for his family and his responsibility as a parent to his children were

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 10

 
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intensely difficult of a two-month-old infant and two-year-old toddler. They are now three and
six-years old and has been affected by Saray inability to spend the necessary quality time and
attention. His son has been evaluated and admitted into therapy counseling and have been
diagnosed for delays in milestones in their childhood development.
2.10 Saray’s injury should have been covered and available under his coverage of
Uninsured/Underinsured Motorist “UIM/UM” Bodily Injury Coverage up to his available policy
limits.
2.11 American Family also has far and gone to say that through their web domain address that
Uninsured/Underinsured Motorist Bodily Injury Coverage:
If you’re in an accident with an at-fault driver who has some liability insurance, but not
enough to cover all of your bills after an accident, you'll be glad you had underinsured
motorist coverage. It's similar to uninsured coverage, but in this case, the at-fault
driver’s insurance typically pays for the damages up to their policy limit, and your
underinsured coverage kicks in to help pay the rest.
2.12 If you’re in an accident with an uninsured or underinsured driver, and you don’t have
uninsured or underinsured motorist coverage, you’ll be responsible for paying out-of-pocket for
damages and medical expenses. However, if you’re in an accident where the other driver was at
fault and you do have these coverages, you'll rest easy knowing your finances are protected. This
is found on American Family web domain under the UIM/UM coverage and provision.
2.13 On January 10, 2017 American Family denied any bodily injury coverage towards
Saray’s injuries when Deontae Turner “Turner” expressed to Saray that unfortunately, due to the

policy language the medical injury claim would not be covered at this time.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 11

 
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2.14 Saray former counsel informed American Family on January 24, 2017 that his claims had
conflicting information and that a Declaration Page was provided to him by the local Agents and
to again recheck or that attorney fees would be applicable under the wrongful denial under the
Olympic Steamship.

2.15 This claim was then reassigned by American Family to another adjuster Joanie Sullivan
“Sullivan” on or around January 27, 2017.

2.16 Sullivan spoke to Saray’s attorney legal assistant “Imogen Holmes” in which we briefly
discussed the denial. Saray followed up with an email to legal assistant on or around January 30,
2017 to clarify the reason for denial and a request to have it in record and in writing.

2.17 However, this attempt was unsuccessful. Attorney Deborah Purcell expressed that legal
assistant Holmes handling Saray’s claim was no longer with the firm.

2.18 On February 7, 2014 a certified Declaration Page was then produced by American Family
with a true an accurate copy of policy coverage.

2.19 A decision was later made on February 14, 2017 by another adjuster identified as a no-
fault med-pay adjuster, Susan Burns “Burns.”

2.20 Law Offices of Harold Carr allowed Burns to open and then closed the claim for Personal
Injury Protection without producing the proper forms for rejecting the PIP coverage pursuant to
Washington State Law.

2.21 Susan Burns decision for denial was based off the policy language found on another
vehicle, a 1999 Toyota Corolla (which was the previous vehicle assigned to same policy number
which was not the actual vehicle “Cadillac” involved in the June 20, 2016 motor vehicle

collision.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 12

 
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2.22 American Family decision to deny Claim No. 185-135663 based on the language found
on a Rejection/Selection Personal Injury Protection “PIP” and UIM/UM “Waiver Forms” created}
by American Family that was applicable only to the 1999 Toyota Corolla.

2.23 American Family was informed on numerous occasions and knew that their own
Declaration Page had conflicting language than that to the Waiver Forms in which American
Family used and reused to reject coverage and deny the claim unlawfully.

2.24 Underwriting agent Tiffani Guthrie at Battens Agency produced and provided a copy of
the Declaration Page to Saray in-person sometime during Summer of 2016.

2.25 Battens Agency has thus closed shop since Spring of 2017 at their place of business in
Tacoma Washington, just months following after Holmes recent departure from Law Office of
Harold Carr.

2.26 American Family Rejection/Selection Waiver Forms were intentionally applicable to a
previous vehicle on the multi-car auto policy that Saray had on his previous multi-car auto
policy.

Negligence

2.27 Saray personally requested Batten to reach Turner to resolve this matter over the phone,
since the medical coverage claim was unverifiable after or about 10 weeks of medical treatment.
Around this same time, on August 15, 2016 senior adjuster of American Family Steven Nickell
advised Saray “It was not necessary for you to do anything at this time.”

2.28 Saray has then retained counsels on three occurrences and developed grievance for
malpractice in the course of events in this claims handling by American Family claims

department.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 13

 
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2.29 On December 11, 2017 Saray’s retained new counsel to resolve the claims issue with
former counsel in effort to retrieve the funds from the 3" party liability, which was withheld by
former counsel Harold Carr’s office.

2.30 Through Saray’s third attorney of record, he informed American Family of their
misleading information and informed Sullivan the harm it has already caused, which was in
violation of WAC 284-30-330(1), among other things.

2.31. On January 10, 2018 Saray’s attorney notified American Family again about their
deceitful conduct and their continual refusal to pay any amount towards their client’s claim,
which Saray still had an outstanding balance from the Emergency Room visit on June 20, 2016.
2.32  Onor around January 18, 2018 American Family responded and disagree with Saray’s
attorney and their accountability on the misleading information to have not caused any harmed to
Saray.

2.33 Saray’s attorney informed American Family that they were incorrect on that statement
and that he had suffered from additional distress.

2.34 American Family refused to reconsider the extent of other damages and harm they have
caused upon their own insured Saray and recklessly ignored their client’s health and interest.
2.35 American Family continue to refuse and explain how they evaluated the claim and their
records that they had in assessing the value of the claim.

2.36 American Family asserted an unknown party to the claim, “Carrier Geico” was subtracted
from the total value of the claim in March 2017, however no party existed and no release for this

amount or truly acknowledge that the unknown party ever had any involvement.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 14

 
 

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2.37 On or around July 10, 2018 Plaintiff filed a complaint with the Office of Insurance
Commissioner and was assigned Case Number 1586840 in connection to the above entitled
action. Dkt. 1-2 (Pages 23-25 of 47).
2.38 This complaint is in connection to the denials and continue refusal to pay any amount on
Plaintiff's claim (Claim No. 185-135663) as stated by former counsel Kyle Olive on December
11, 2017 Dkt. 1-2 (Page 12 of 47).
2.39 On July 24, 2018 Marshall Westbrook, Casualty Claim Manager on behalf of American
Family wrote to Ethel Smith, State of Washington Compliance Analyst. Dkt. 1-2 on (Page 27 of
47) second paragraph sections.

“We apologize for the inconvenience or confusion this situation caused. It is our

goal to provide the best possible customer service and regret that it was not met

in this situation. We can assure you that Ms. Sullivan has handled the claim with

the utmost care and in a proactive manner since being assigned to this claim.”
2.40 American Family, Casualty Claims Manager also misstate of other facts to the regulating
agency in regard to this matter.
2.41 Defendant American Family should be found liable for the damages to Plaintiff's injuries
and for the inconvenience and confusion this situation caused.
2.42 Saray has been very distressed by his insurance company’s unreasonable claims handling
by the failures to properly pay benefits under an automobile insurance policy.
2.43 Asaresult of this entire claims handling and misrepresentation of policy coverage,
caused Saray to assert a civil action against American Family Insurance Group S.I. for breach of
contract, negligence, fraud, bad faith, and other state statutory violation and federal trademark

related claims.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 15

 
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2.44 Saray filed this court in Federal Court following a pro bono legal advice that he received
on May 20, 2017. Though legal advice was given to him by a pro bono to file sometime before
the statute of limitation of three years since the date of accident June 20, 2016.

2.45 Saray was compelled to filed his consumer affair suit on June 3, 2019 in the United States
District Court in Western District of Washington in Tacoma. Saray prepared himself to file in
forma pauperis, as a pro se litigant.

2.46 Judge denied his request for court-appointed counsel to which Plaintiff was not fully
prepare to as a pro se in this matter and has caused him to suffer from severe hardship. He now
has to manage considerably all other factors, such as being a student, father, and now as a pro se
litigant.

2.47 The Summons was filed and provided to the Clerk on or around July 1, 2019. The date
for response due was within 21 days of service of Summons and Complaint, which was not sent
until 7/17/2019, so then the responsive pleading would be expected to be on or around August 8,
2019.

2.48 More than 40 days have passed since Summons and Complaints was served on American
Family. Said Defendants have failed to appear, plead, or otherwise defend the action in the time
allowed and/or have otherwise neglected to answer the Complaint.

2.49 Brought this matter to the attention of Roslaniec, attempt included leaving a telephone
message left on August 12, 2019. No response. More calls, no response. Later was via email on
August 22, 2019, in which counsel request an additional two weeks for a responsive pleading to
be entered.

2.50 Plaintiff respectfully place the Court on notice that this time for requested extension

would be expected on or around September 5, 2019.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 16

 
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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 17 of 37

2.51 Due to Plaintiff request for appointed-court counsel was denied, Saray has needed to set
an appointment with the pro bono counsel of Tacoma, which appointment are usually set for first
Monday evening of each month.

2.52 Plaintiff was then able to speak to counsel on October 7, 2019 which help begin to
understand the language in these motions and what exactly does the court would like to see.

As a pro se Plaintiff, I admits that I do need assistance in understanding the Local Rules,
and has challenges with dealing with lawyers in practice, the English literacy also has been
difficult as this is the third attempt in passing the pre-requisite course of Eng095.

WI. FIRST CAUSE OF ACTION: BREACH OF CONTRACT
3.1 Paragraphs 1.1 through 2.55 are in support of the complaint filed in Dkts. 1 and 6 and re-
alleges as though fully set forth.
3.2 Saray was injured as a result of the June 20, 2016 motor vehicle collision.
3.3. At the time of the accident, Saray had underinsured motorist coverage under his policy of
insurance with American Family.
3.4 Saray has suffered economic and non-economic damages as a result of the fault of an
underinsured motorist.
3.5. Saray was therefore entitled to benefits or access to medical expense costs under the UIM
coverage which was in effect at the time of the crash for damages.
3.6 Asamatter of law, American Family’s failure to properly pay Saray’s legitimate claims
for benefits under an automobile insurance policy after a crash constitutes breach of the

insurance contract.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 17

 
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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 18 of 37

IV.SECOND CAUSE OF ACTION:
VIOLATIONS OF RCW CHAPTERS 48.01 AND 48.30

4.1 Paragraphs 1.1 through 3.6 and complaint filed in Dkts. 1 and 6 are realleged as though
fully set forth.
4.2 American Family’s bad faith in the handling Saray’s UIM claim violates RCW 48.01.030
which requires insurance companies to act in “good faith, abstain from deception and practice
honesty and equity in all insurance matters.”
4.3 American Family’s bad faith handling of Saray’s UIM claim violates RCW 48.30.015 the
WAC sections enacted pursuant to that chapter, including 284-30-330 (1-6, 12 & 13), WAC 284-
30-350. American Family violated the Washington Administrative Code in a number of ways,
including but not limited to:

a) Misrepresenting facts; fabricating facts;

b) Failing to act reasonably promptly;

c) Failing to consider plaintiff's interest along with its own interests.
4.4 American Family misrepresented pertinent facts or insurance policy provisions when
American Family drafted the policy which states that it will provide coverage or benefits for
bodily injury under the Underinsured/Uninsured Motorist Bodily Injury Coverage is
unreasonable and deceptive and constitutes a failure to treat its policyholder in good faith.
4.5 Saray is entitled to damages in an amount to be proven at trial for actual damages, treble
damages, reasonable attorneys’ fees, and costs, including expert witness fees.

V. THIRD CAUSE OF ACTION: VIOLATIONS OF RCW CHAPTER 19.86

5.1 Paragraphs 1.1 through 4.5 and complaint filed in Dkts. 1 and 6 are realleged as though

fully set forth.

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 18

 
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5.2 American Family has violated the Consumer Protection Act by committing unfair and/or
deceptive acts or practices, in the course of trade or commerce, affecting the public interest,
which unfair and/or deceptive acts have caused injuries to Saray in his property or business.

5.3. Asa matter of law, American Family has per se violated the Consumer Protection Act by
each and every violation of RCW Chapter 48.30 and the WAC, as alleged above, entitling Saray
to treble damages and reasonable attorney’s fees and costs.

VI. PRAYER FOR RELIEF

WHEREFORE, Saray prays for the following relief against American Family:

6.1 For an award of monetary damages against American Family for breach of contract,
including but not limited to, UIM coverage in the amount of such special and general
damages as Saray will prove at trial.

6.2 All damages including emotional distress and consequential economic damages shown at

trial for American Family’s bad faith dealings with their insured in violation of RCW 48.01 et.

seq.;

6.3 For all damages shown at trial which proximately flow from American Family’s violation

of RCW 48.30 et. seq. and the WAC, including but not limited to, three times actual damages;

6.4 Saray’s attorney’s fees and cost pursuant to RCW 48.30.015 and RCW 19.86.090;

6.5 Such other relief as the Court deems appropriate.

"I certify (or declare) under penalty of perjury under the laws of the
State of Washington that the foregoing is true and correct":
Pursuant to RCW 9A.72.085

Dated this ets day of October 2019

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 19

 
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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 20 of 37

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Cehakanak Saray

Pro Se Litigants

All Rights Reserved

4214 East N Street
Tacoma, WA 98404
Telephone: (253) 217-0965
sarayc_2000@hotmail.com
Plaintiff, in Proper Person

PLAINTIFF RESPONSE FOR ORDER TO SHOW CAUSE INJUNCTION REQUESTAMENDED
COMPLAINTFOR BREACH OF CONTRACT & PERSONAL INJURIES - 20

 
 

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 21 of 37

WAWD - Cestificate of Service (Revised 12/27/12)

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
Cehakanak Saray,
Plaintiff(s),
V 3:19-CV-05493
° Case No.
American Family Mutual Insurance
Group S.. CERTIFICATE OF SERVICE
Defendant(s).

 

 

 

| hereby certify that on te/ 5, / 2019 | electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following:

ttorney for Defendants: COLE WATHEN LEID HALL, P.C.
n J. Hail Email: rhall@cwihlaw.com & Christopher J. Roslaniec croslaniec@cwlhlaw.com

andi hereby ce certify that | have mailed by United States Postal Service the document to the
following non CM/ECF participants:

Dated 0/ is/o04 s/ Cehakanak Saray ~

Sign or use a "s/" and your name

 

kanak Saray
14 East N Street
‘acoma, WA 98404
(253) 217-0965
sarayc_2000@hotmail.com

 

CERTIFICATE OF SERVICE Page of

 
 

 

Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 22 of 37

www.tacomaprobono.org
Wwww.washingtonlawhelp.org
www.courts.wa.gov Free Civil Legal Aid

 

MY APPOINTMENT Is: |
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Clinic/Address

 

Appointment Scheduled by on i

 

Best scanned image available.
Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 23 of 37

Order —
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JSR - Proposed Discovery & Lists

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CEHAK SARAY

To: Chris J. Roslaniec; Ryan J. Hall
Mon 9/23/2019 2:43 PM

Hello Chris,

Please review my suggestion and edits with the lists of witnesses to the JSR.

1. Plaintiff request for Status Conference.
2. Plaintiff request for an Oral Hearing prior to ruling on Defendant's dispositive motion.

3. Plaintiff request of the following Discovery including but not limited to Request for
Admission, Request for Interrogatories.

4. Parties will DEMAND A JURY TRIAL OF TWELVE.
9 5. Plaintiff will enter Protective Order by 10/1/2019.

6. Plaintiff may seek preliminary and injunction relief to refrain American Family to cease
| and desist from sending mail-ad delivered to Plaintiff's home address. Material
é includes offering a promise of protection through the forms of creating a policy
| © contract and referring this contract as dreams.

7. Plaintiff may request the Court for class certification under Fed. R. Civ. Pro. 23 for any
parties that may be similarly situated and had alleged bad faith against Defendant
as some may be found in Dkt. 2 Pg. 70 through 92 of 92

8. Plaintiff requests for Scheduling Conference.

List of witnesses including some finding of initial facts in preparation to disclose:

1. Jack Salzwedel, Chairman and Chief Executive Officer
6000 American Parkway
Madison, Wisconsin 53783
T: (800) 692-6326

Jack Salzwedel is an is an officer for the Defendant and may have knowledge of Defendant's
actions in this matter and may have discoverable information regarding this case including but not
limited to the following:

Dkt. 3, Pgs. 79 through 98 of 126
AMERICAN FAMILY CODE OF CONDUCT & BUSINESS ETHICS

Dkt. 3, Pg. 80 of 126
A MESSAGE FROM JACK SALZWEDEL

“Our vision is to be the most-trusted and valued customer-driven insurance company.
Acting in the highest ethical manner is one of the critical steps in achieving that vision,

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UNDERINSURED MOTORIST COVERAGE

www.amfam.com/insurance/car/coverages/underinsured-motorist

Dkt. 3, Pg. 122 of 126
NEWSROOM article Madison, March 06, 2018

Strong growth, record storm claims highlight 2017 for American Family Insurance Group
American Family ended 2017 with 10.5 million policies in force.

2. Daniel Kelly, Chief Financial Officer
American Family Mutual Insurance Group, S.1.
6000 American Parkway
Madison, Wisconsin 53783
T: (800) 692-6326

Dan or “Daniel” Kelly is an officer for the Defendant and may have knowledge of Defendant's
actions in this matter and may have discoverable information regarding this case including but not
limited to the following:

Dkt. 3, Verify Reports located in the following are True and Accurate:

Dkt. 3, Pgs. 72 & 73 of 126
AMFAM.COM 2017-REPORT

Dkt. 3, Pgs. 77 & 78 of 126
AMFAM.COM 2018-REPORT

Dkt. 3, Pgs. 117 & 118 of 126
NEWSROOM article, Madison July 14, 2016 ; oo.
10 million and growing: American Family Insurance achieves milestone for policies in force

Dkt. 3 Pg. 120 of 126
NEWSROOM article Fast Facts

https://newsroom.amfam.com/fast-facts/

Dkt. 3 Pg. 121 of 126
UNDERINSURED MOTORIST COVERAGE

www.amfam.com/insurance/car/coverages/underinsured-motorist

Dkt. 3, Pg. 122 of 126
NEWSROOM article Madison, March 06, 2018

Strong growth, record storm claims highlight 2017 for American Family Insurance Group

American Family ended 2017 with 10.5 million policies in force.

3. Joanie Sullivan, Casualty Claim Adjuster I!
American Family Mutual insurance Company, S.1.
6000 American Parkway

Madison, WI 53783
T: (800) 692-6326 Extension 58797
Email: jsulliva@amfam.com

Joanie Sullivan is an Adjuster for the Defendant and may have knowledge of Defendant's actions in
this matter and may have discoverable information regarding this case including but not limited to

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 25 of 37

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“| have been assigned to assist you with the Underinsured Motorist Bodily Injury claim...”

Dkt. 1-2, Pgs. 12, 13, 14, 15, 16, 17, 18 of 47
Corresponding Letters, Defendant's deceitful conduct and claims handling.

4. Marshall Westbrook, Casualty Claim Manager — AZ/NV/WA/OR
American Family Mutual Insurance Company, S.1.
6000 American Parkway
Madison, Wisconsin 53783
T: (800) 692-6326 Extension 58105
Email: mwestbri @amfam.com

Marshall Westbrook is a Manager for the Defendant and may have knowledge of Defendant's
actions in this matter and may have discoverable information regarding this case including but not
limited to the following:

Dkt. 1-2, Pgs. 26 & 27 of 47
Letter dated July 24, 2018 regarding Family Private Passenger Auto
Policy 2354-1271-02, Claim No. 00-185-135663 for date of loss on June 20, 2016,
Regulator File No. 1586840. Sent to Ethel Smith, Compliance Analyst with State of
Washington Office of the Insurance Commissioner

Dkt. 3 Pg. 121 of 126
UNDERINSURED MOTORIST COVERAGE

www.amfam.com/insurance/car/coverages/underinsured-motorist
5. Deontae C Turner, Casualty Claim Adjuster

American Family Mutual Insurance Company
6000 American Parkway

Madison, WI 53783

T: (800) 692-6326 Extension 58746

E-mail: dturner1@amfam.com

Deontae C Turner is an Adjuster for the Defendant and may have knowledge of Defendant's

actions in this matter and may have discoverable information regarding this case including but not
limited to the following:

Dkt. 2, Pg. 2 of 92
Letter sent June 23, 2016 to investigate this accident.

Dkt. 2, Pg. 4 through 10 of 92
Loss Report and Police Report submitted to Adjuster via FedEx on June 28, 2016.

Dkt. 2, Pg. 34 of 92
Letter of representation sent to Adjuster Deontae Turner from Law Offices of Harold D. Carr,

Dkt. 2, Pg. 37 of 92
Letter sent January 10, 2017 Enclosed PIP and UM/UIM REJECTIONS and Denial of ;
Coverage. Please be advised that the American Family Mutual Insurance automobile policy
23541271-02 does not carry PIP or UM/UIM for the date of loss of June 20, 2016.
“Please review the enclosed PIP and UM/UIM signoff rejection forms.”
“The insured rejected the coverage on August 31, 2015."

“On September 15, 2016 the insured requested a change in coverage and added PIP and
UM/UIM to the automobile policy.”

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 26 of 37

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Dkt. 2, Pg. 38 of 92
WASHINGTON PERSONAL INJURY PROTECTION REJECTION / SELECTION FORM
signed on 08/31/2015 for coverage on 1999 Toyota Corolla.

Dkt. 2, Pg. 39 of 92
WASHINGTON UNDERINSURED MOTORIST COVERAGE REJECTION / SELECTION FORM
signed on 08/31/2015 for coverage on 1999 Toyota Corolla.

Dkt. 2, Pg. 40 of 92
Certificate of Completion Electronic Signature for REJECTION / SELECTION FORMS
of Dkt. 2, Pg. 38 & 39 for coverage on 1999 Toyota Corolla.

Dkt. 2, Pg. 42, 43 & 44 of 92
Declaration Page, Proof of Insurance Card and coverages for 2013 Infiniti JX35.

Dkt. 2, Pg. 45 of 92
WASHINGTON UNDERINSURED MOTORIST COVERAGE REJECTION / SELECTION FORM
signed on 09/15/2016 for coverage on 2013 Infiniti JX35.

Dkt. 2, Pg. 46 of 92
Letter to Mr. Turner on 1/24/2017 from tmogen N. Holmes, Legal Assistant at Law Offices
of Harold D. Carr, PS.

“In response to your letter dated January 10, 2017 in which you again state that our client,
your insured, Cehakanak Saray did not have UM/UIM coverage for the 2011 Cadillac which
he was driving at the time of the June 20, 2016 collision.”

“Our client/your insured purchased the 2011 Cadillac in April and added UM/UIM
coverage at that time.”

“His other vehicle(s) did not have UM/UIM coverage.”

“This is documented by his American Family Insurance Declarations pages which clearly
shows such coverage for that particular vehicle and the correct policy number."

“He subsequently added UM/UIM coverage to all vehicles on or about 9/15/16 which is
reflected in the UM/UIM signed acceptance page which you provided.”

“Please contact our client's American Family Insurance agent to verify such coverage or for
an explanation as thy this Declaration’s page was provided to him.”

“Our client relied upon this coverage.”

“Please reply in writing that you have checked with the agent about this matter and
confirming whether our client was billed for such coverage on the 2011 Cadillac.”

‘If it is still American Family's position that there is no UM/UIM coverage on the date of the
loss, we will need a detailed explanation in writing and an explanation as to how the
Declararions page could be incorrect.”

“If we are required to litigate coverage, please know that Olympic Steamship allows for
reasonable attorney's fees for wrongful coverage denial.”

6. Susan Burns, Casualty Med Pay No-Fault Adjuster
American Family Mutual Insurance Company S.I.
6000 American Parkway
Madison, Wisconsin 53783

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 27 of 37

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Susan Burns is an Adjuster for the Defendant and may have knowledge of Defendant's actions in
this matter and may have discoverable information regarding this case including but not limited to
the following:

__ Dkt. 3, Pg. 2 — Findings and facts involving Claim No 00-185-135663-1938

“There was no change in policy coverage when the insured vehicle was changed from the
1999 Toyota Corolla to the 2011 Cadillac SRX.”

” Both vehicles were insured under the same policy number so no new rejection forms were
necessary. Coverage on the 2011 Cadillac SRX was the same as for the 1999 Toyota Corolla.”

Denial of coverage was based on the following language:

“l also understand and agree that this selection shall be applicable until | request a change
in writing. If | decide to select another option at some future date, | must let the company
know in writing.”

Enclosed Washington Personal Injury Protection, Rejection/Selection Form under Policy No. 2354-
1271-02-51-FPPA-WA

Dkt. 3, Pg.3 — 1999 Toyota Corolla Proof of Insurance Card & Coverage (Front Image)
Effective Date 02-26-2016 Expiration Date 06-23-2016
Coverages BI-PD

Dkt. 3, Pg. 4 - 1999 Toyota Corolla Proof of Insurance Card & Coverage (Back Image)
Important Information

Dkt. 3, Pg. 5 —- 2011 Cadillac SRX Proof of insurance Card & Coverage (Front Image)
Effective Date 06-23-2016 Expiration Date 06-23-2017
Coverages BIPD UIM COMP COLL UIMPD

Dkt. 3, Pg. 6 - 2011 Cadillac SRX Proof of Insurance Card & Coverage (Back Image)
Coverage Description Underinsured Motorist Bodily Injury $25,000/$50,000

7. Dominic Batten 055/354
American Family Former-Agent/Former-Agency Owner
15711 Pacific Ave
Tacoma, WA 98444
T: (253) 722-2886
E-Mail: dbatten@amfam.com

Dominic Batten was a former agency owner and agent for the Defendant and may have knowledge
of Defendant's actions in this matter and may have discoverable information regarding this case
including but not limited to the following:

8. Tiffani Guthrie, Agent (former)|American Family Insurance
Underwriter at Battens Agency
15711 Pacific Ave
Tacoma, WA 98444
T: (253) 722-2886
E-mail: TGUTHRIE@amfam.com

Tiffani Guthrie was an agent for the Defendant and may have knowledge of Defendant's actions in

this matter and may have discoverable information regarding this case including but not limited to
the following:

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 28 of 37

Dkt. 2, Pg. 28 of 92
Payment on August 18, 2016 towards Life Insurance Policy for Saray’s mother.

Dkt. 3 Pg. 12 of 126
Email sent from Agent on 7/20/2016

“Our team at the Dominic Batten Agency would like to thank you for your continued
loyalty and trust in allowing us to provide you with your insurance needs."

Dkt. 3, Pg. 31 of 126

Produced and provided copy in-person of DECLARATIONS FAMILY CAR POLICY and showed the
following language:

Declarations effective on the date shown above. These declarations form a part of
this policy and replace all other declarations which may have been issued
previously for this policy. If this declarations is accompanied by a new policy, the
policy replaces any which may have been issued before with the same policy
number.

Guthrie and Saray had a mutual understanding that bodily injury coverage was available for bodily
injury medical expenses or cost, as shown.

Dkt. 3 Pg. 121 of 126
UNDERINSURED MOTORIST COVERAGE

www.amfam.com/insurance/car/coverages/underinsured-motorist

9. Steven R. Nickell, AIC, SCLA
Subrogation Senior Adjuster
American Family Mutual Insurance Company
6000 American Parkway
Madison, Wisconsin 53783
T: (800) 692-6326 Extension 52351

E-mail: snickell@amfam.com

Steven R. Nickell Senior Adjuster for the Defendant and may have knowledge of Defendant's
actions in this matter and may have discoverable information regarding this case including but not
limited to the following:

Dkt. 2, Pg. 23 of 92
Letter dated on August 15, 2016 “It is not necessary for you to do anything at this time.”

Law Offices of Harold D. Carr

10. Imogen Holmes, Former Legal Assistant
The Law Offices of Harold D. Carr
10136 Bridgeport Way SW
Lakewood, WA 98499

11. Deborah Purcell, Attorney at Law
The Law Offices of Harold D. Carr
10136 Bridgeport Way SW
Lakewood, WA 98499
T: (253) 365-6565

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 29 of 37

— Dkt. 2,

Dkt. 2,

Lakewood, WA 98499
T: (253) 365-6565

13. Harold D. Carr, Attorney at Law
The Law Offices of Harold D. Carr
10136 Bridgeport Way SW
Lakewood, WA 98499
T: (253) 365-6565

Pg. 46 of 92

Letter to Mr. Turner on 1/24/2017 from imogen N. Holmes, Legal Assistant at Law Offices
of Harold D. Carr, PS.

“In response to your letter dated January 10, 2017 in which you again state that our client,

your insured, Cehakanak Saray did not have UM/UIM coverage for the 2011 Cadillac which
he was driving at the time of the June 20, 2016 collision.”

“Our client/your insured purchased the 2011 Cadillac in April and added UM/UIM
coverage at that time.”

“His other vehicle(s) did not have UM/UIM coverage.”

“This is documented by his American Family Insurance Declarations pages which clearly
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shows such coverage for that particular vehicle and the correct policy number.”

“He subsequently added UM/UIM coverage to all vehicles on or about 9/15/16 which is
reflected in the UM/UIM signed acceptance page which you provided.”

“Please contact our client’s American Family Insurance agent to verify such coverage or for
an explanation as thy this Declaration’s page was provided to him.”

“Our client relied upon this coverage.”

“Please reply in writing that you have checked with the agent about this matter and
confirming whether our client was billed for such coverage on the 2011 Cadillac.”

“If it is still American Family's position that there is no UM/UIM coverage on the date of the
loss, we will need a detailed explanation in writing and an explanation as to how the
Declarations page could be incorrect.”

“If we are required to litigate coverage, please know that Olympic Steamship allows for
reasonable attorney's fees for wrongful coverage denial.”

Pg. 48 of 92

Email sent to Imogen Holmes on January 30, 2017, requesting for American Family

response made in writing.

Dkt. 2,

Dkt. 3,

Pg. 49 of 92

AFFIDAVIT in the State of Minnesota, County of Hennepin ;
Amber Wuollet, February 7, 2017 produced a true and correct copy of the Declaration Page
(Dkt. 2, Page 50 of 92)

Pg. 2 — Findings and facts involving Claim No 00-185-135663-1938
“There was no change in policy coverage when the insured vehicle was changed from the
1999 Toyota Corolla to the 2011 Cadillac SRX. Both vehicles were insured under the same

policy number so no new rejection forms were necessary. Coverage on the 2011 Cadillac
SRX was the same as for the 1999 Toyota Corolla.”

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 30 of 37

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in writing. If | decide to select another option at some future date, | must let the company
Know in writing.”

Enclosed Washington Personal Injury Protection, Rejection/Selection Form under Policy No. 2354-
1271-02-51-FPPA-WA

Dkt. 3, Pg.3 ~ 1999 Toyota Corolla Proof of Insurance Card & Coverage (Front Image)
Effective Date 02-26-2016 Expiration Date 06-23-2016
Coverages BI-PD

Dkt. 3, Pg. 4 - 1999 Toyota Corolla Proof of Insurance Card & Coverage (Back Image)
Important Information

Dkt. 3, Pg. 5 - 2011 Cadillac SRX Proof of Insurance Card & Coverage (Front Image)
Effective Date 06-23-2016 Expiration Date 06-23-2017
Coverages BIPD UIM COMP COLL UIMPD

Dkt. 3, Pg. 6 - 2011 Cadillac SRX Proof of Insurance Card & Coverage (Back Image)
Coverage Description Underinsured Motorist Bodily Injury $25,000/$50,000

Dkt. 2, Pg. 55 of 92 ; ;
All-inclusive Offer of $5,000 settlement on March 28, 2017 from American Family through
Joanie Sullivan.

14. Kyle Olive, Attorney at Olive Law NW
1218 Third Avenue, Suite 1000
Seattle, WA 98101
(206) 629-9909

RE: Claims Handling and Correspondence

Dkt. 1-2, Pgs. 12, 13, 14, 15, 16, 17, 18 of 47
Corresponding Letters, Defendant's deceitful conduct and claims handling.

~ Dkt. 3, Pg. 70 & 71 of 126

RELEASE AND INDEMNITY AGREEMENT UNINSURED/UNDERINSURED MOTORIST COVERAGE
issued in exchange for the policy limits under Claim No. 00-185-135663. Attempts to release
American Family from liability.

15. Ethel Smith, Compliance Analyst
State of Washington
Office of the Insurance Commissioner
PO. Box 40255
Olympia, WA 98504-0255

Dkt. 1-2. Pgs. 23 & 24 of 47
Washington State Office of Insurance Commissioner
Original Complaint Details
Complaint Date: 07/09/2018
Dkt. 1-2, Pg. 25 of 47
State of Washington Insurance Commissioner OIC Case # 1586840
Letter addressed to Vanessa P Mosley on July 10, 2018

Dkt. 1-2, Pgs. 26 & 27 of 47

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Case 3:19-cv-05493-RJB Document 27 Filed 10/15/19 Page 31 of 37

Ottice of the Insurance Commissioner

Dkt. 3 Pg. 121 of 126
UNDERINSURED MOTORIST COVERAGE

www.amfam.com/insurance/car/coverages/underinsured-motorist

16. Christina Miller, American Family Agent
3814 Pacific Ave South Suite 103
Tacoma, WA 98418-7813
T: (253) 200-4199
E-Mail: CMILLE2 @AMFAM.COM

Christina Miller is an agency owner and agent for the Defendant and may have knowledge of
Defendant's actions in this matter and may have discoverable information regarding this case
including but not limited to the following:

Dkt. 1-2, Pgs. 4 & 5 of 47

Letter dated May 15, 2017 “Thank you for placing your trust in American Family.’

17. Shirley McMahon, American Family Agent
12222 Pacific Ave
Tacoma, WA 98444-5127
T: (253) 240-3467
E-Mail: smcmahon@amfam.com

Shirley McMahon is an agency owner and agent for the Defendant and may have knowledge of
Defendant's actions in this matter and may have discoverable information regarding this case
including but not limited to the following:

RE: Unknown-Listed Agent in Compliance Report File Number 1586840.
Mail-Advertisement sent on behalf of above-name mentioned of American Family.

18. Alfonzo Riconosciuto, American Family Agent
5825 Tacoma Mall Blvd Ste 101
Tacoma, WA 98409-6906
T: (253) 472-7707
E-Mail: ariconos@amfam.com

Mail- Advertisement sent on behalf of above-name mentioned of American Family.

Dkt. 3 Pg. 121 of 126
UNDERINSURED MOTORIST COVERAGE

18. Philips Law Firm
Maribel Reny - Attorneys at Law

17410 133° Ave NE, Suite 301
Woodinville, WA 98072
E-mail: mreny@justiceforyou.com

RE: Personal Injury Protection Coverage with Claim No 185-135663
Assigned under American Family Letter Dated June 30, 2016

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SJCACHUGLLE DO UUDVUOALLVE ALU LEU.

-, Chris J. Roslaniec ®@ Mon 9/23/2019 3:07 PM
Hi Mr. Saray, Many of those items are not appropriate for addition to the JSR, but | have indicat...

“To: Chris J. Roslaniec
This message hasn't been sent.

Saved: Mon 9/23/2019 8:57 PM

Unfortunately, without including the suggestions or requests proposed, | can not compel to agree to
this Joint Status Report.

Get Outlook for Android

CEHAK SARAY
To: Chris J. Roslaniec
Mon 9/23/2019 4:40 PM

Hi Chris,

Unfortunately, my request of the email | provided in the JSR is not disclosed in your report.
That being said, | can not agree to your Joint Status Report that you have created for
September 23, 2019.

The proposal for Joint Status Report is currently conflicting interest of all the parties
involved and parties position should be entered accordingly in the JSR, whether you believe
it's appropriate or not.

Therefore, | would like to request we reconsider for another date to submit our Joint Status
Report until we can agree on the terms of the JSR.

Please be advised that | will be notifying the Deputy Clerk to request an additional time for
submitting a JSR, which | proposed a new date to be completed by September 30, 2019.

Thank you,

Cehakanak Saray

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Saray v. American Family
Case No. 3:19-CV-05493

Cehakanak Saray

4214 East N Street
Tacoma, WA 98404
sarayc_2000@hotmail.com
(253) 217-0965

September 9, 2019

Cole | Wathen | Leid | Hall, P.c.
1505 Westlake Ave North, Suite 700
Seattle, WA 98109-6243

T: (206) 622-0494 F: (206) 587-2476

RE: Case No. 3:19-CV-05493-RJB
Saray v. American Family Mutual Insurance Group S.I.

TO: All Counsel & Attorneys for Defendant on Record:

Christopher J. Roslaniec (WSBA # 40568) croslaniec@cwihlaw.com
Ryan J. Hall (WSBA #28585) rhall@cwlhlaw.com
Sonia Chakalo (Legal Assistant) schakalo@cwihlaw.com

Dear Counsel of Record,

| appreciate your legal assistant Sonia for taking the time to speak with me the morning of 8/20/19
regarding my voice message | have left with you on August 12, 2019 about an action against your client,
Defendant American Family.

We spoke briefly about your availability, to which she stated that you had an appearance in King County
court that week to the reason that you were unable to respond the pleadings.

| received your response via email August 22, 2019.

| expect that you have received my reply to your email request, which | sent to you on August 23, 2019
for scheduling purposes, with respect to my time of availability for a 26(f) Conference ordered by the
court, which you noted should be set by 9/9/19.

Please check your email again and confirm this message.

Time available to meet and confer, if you have any time in conflict in that regards, please address that
matter with me as soon as you are able to.

| also understand through your email which you request additional two weeks to answer with a
responsive pleading regarding American Family’s failure to Answer to the above-entitled action which |
have noted in my calendar for Friday, September 6, 2019.

| have received notice of an Answer on September 3, 2019, in which you have also request a DEMAND
FOR JURY.

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Case No. 3:19-CV-05493

However, your Answer to my Complaint shows me that you have not adequately submit a responsive
pleading in good faith and then have asserted AFFIRMATIVE DEFENSES in that regard.

Please note that the facts to this case has been supplemented with letters, exhibits and correspondence
that shows merits for the facts and basis of this claim which you allege lacks information.

Please refer again to the Dockets 1-2, 2 & 3 filed in this action between the date filed and June 6, 2019.

In addition to those outlined and request made above, a Demand for Jury Trial would be necessary in
Engaging in fraud made by the acts of your client, Defendant American Family through their Actors,
Assignee and/or Otherwise.

Here the amount to award punitive damages may be assessed for two types of deterrence and
punishment:

1) Specific goal is to teach the defendant not to engage in misconduct again; and
2) General serves to prevent others.

WPI 348.02 Civil Right Punitive Damage is attached to Dkt 3. (Page 109 of 126)

Brief History
Following the notice of appearance on record, and after careful consideration, an order was granted to
proceed in forma pauperis signed on June 21, 2019 by Judge David W. Christel.

After a denial for request of court-appointed counsel on July 15, 2019, however, Service of Process was
granted by the Court to which American Family was then served a Summons and Complaint on or
around July 17, 2019 by first-class mail at their last known principal place of address located in Dane
County of Madison, Wisconsin.

As of date of this letter, please carefully reviewed these exhibits and dockets, as you have yet
represented on American Family behalf appropriately with your Answer.

Request for admission will be entered and if your intention is unfounded, | will be requesting the Courts
to impose sanctions.

Failing to consider this proposal settlement, as a former customer and consumer, which | emphasize
that my loyalty and trust should not be questioned, but it was fully taken advantage by your client’s way
of words and Vision statement among other things.

| have yet to see any acts in good faith, and a position that should be carefully considered in respect to
your client and towards me as the Plaintiff, a former member/policyholder/consumer/customer/your
own insured.

Upon personal belief and the substantial materials of information that your firm has overlooked, your
firm should owe a duty to preserve your client position and in taking this proposed amicable resolution.

Counsel of record should be aware of the vested interest in maintaining the status quo for their client,
Defendant American Family, including the reputation of both parties, in the likelihood that a judgment
verdict will be in excess and in favor of Plaintiff.

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For Settlement Purpose Only

In light of your liability, the nature, to extent of fraud and statutory violations, and permanency of the
known injuries, the pain and suffering experienced and the loss of life’s time and pleasures, among
other things.

| have proposed a settlement (all-inclusive for the value of my dreams which is basically this entire
experience and lawsuit), which | would request that Jury award at least one percent of American
Family Mutual Insurance Group S.I. financial net-worth, which is reported by AmFam financial report
and to assert that the Jury understands clearly what it means to Insure Carefully Dream Fearlessly,
and that a dream is the most valuable thing anyone will ever own.

This 1% of Defendant financial net-worth is an amount to be around $270-275 million dollars in which
$186,420,925.00 (one-hundred-eighty-six-million, four-hundred twenty thousand, nine-hundred-
twenty-five dollars) is appropriate to compensate this settlement demand towards the Plaintiff Saray.

Based on the entire claims, prayer for relief or any other judicial notice, including a likelihood that
Judgment would be in my favor that | am legally entitled too by law, this amount is very considerable.

Because and however, | am only asking for this amount of $186,420,925.00 which is about two-third of
the above amount, which after careful thoughts and consideration, | will then agree to have about one-
third of this amount $83,579,075.00 (eight-three million, five-hundred-seventy-nine thousands, seventy-
five dollars) for the 3 party or service that successfully execute this proposal.

| also would be including supplemental exhibits to support this case in regarding to the bonus and
compensatory of Executives, Directors and/or Officers and how their amount to unjust enrichment
beyond excessive, which are material to creating a case for wealth-calibrated punitive damages.

| advise that in effort to find out the truth is far more significant than any intangible assets created
under a false brand, through false character traits and misleading reputation. This consideration will
benefit all parties and we can wage the truth as equitable to the sake of my family, my children and our
well-being including the peace of mind, and my mental and financial freedom.

This will save us all time, energy and relief from any unnecessary further damages, not only towards
your client, but mine as well.

| seek prayer for relief that everyone involved deserves another chance to make amends with what went
wrong in this matter.

Therefore, | hope that you can understand my critical and dire need of getting on with my life and
pursuit my dream that your client has repetitively failed to protect and promise.

If you have any counter to this amount or settlement offer, please provide me immediately with depth
and detail of how you evaluated this entire claim and the damage to which the most valuable thing your
client state that anyone will ever own, more specifically the intellectual property also known as dreams.

| reiterate that this is not how | envisioned where my life, family, and friends to be and dearly miss the
quality part of my life to share and enjoy how | choose. Never was it my dreams to ever to have
studies the legal loopholes that excuses criminal behaviors, write motions or practice law in a world of

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falsehood, lies and deceits passing culpability among attorneys in our community with an illusion that
portrays incompetent individual that are far not worth even further discussing their existence in the
communities of professional legal services.

| write this letter to fully disclose that through my actions there are many ways to proceed, and not just
in court. | advised you that this case is not worth any dollar value you can properly figure by any set of
code or algorithm. Just know that my heart and mind is too far committed to stop going any other
direction then to see that criminals are accountable for their fraudulent scheme, and that my moral
obligation is to serve the truth and may justice be served.

May this be your final attempt to hear OR accept any settlement.
Do not ATTEMPT any deceptive tactics to lessen this agreement.

Please provide me with this information so that | may take the necessary and appropriate actions into
consideration against your client, Defendant AMERICAN FAMILY MUTUAL INSURANCE GROUP S.I.

If this offer is not accepted in 5 (five days) from date of this letter is received, | will be making a case for
wealth-calibrated punitive damages and requesting for judicial assistant and sanction any part that may
need attention too and/or the award may be applied to another executor of this proposal or pro se.

Respectfully,

Cehakanak Saray

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| TO BE COMPLETED BY ATTORNEY
Attorney Name (print): ee LAs WSBA#: 27726
Reason for Visit: las LL <= Cesz Ln ay ad FL an bene

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Lisle ta ALM,
T te Pon i, Smigah

 

 

 

   

Case Notes:

  
 
  
  
  

 

 

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Outcome and Services: Referrals:
CO PAPERWORK PROVIDED
Counsel and advice only 1 Schedule for Legal Advice Clinic
Counsel, advice, and brief services (date/time):
C Letter for client (attach copy)
O Other: (date/time):
1 Extensive services (please specify): C Housing Justice Project
(date/time):
C) | will provide limited Pro Bono representation
(1 | will provide full Pro Bono representation (1 Other referral:
Time spent today: ¢6 2Prre 7 _

 

 

 

 

 

 

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Date

 

Revised 2019-04-18
